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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                      )
                         Plaintiff,   )
                                      )
             v.                       )                       Civil Action No.: 17-2233 (ABJ)
                                      )
$47,000 IN U.S. FUNDS ASSOCIATED WITH )
JP MORGAN CHASE ACCOUNT NOS.          )
XXXXXX3282, XXXXXX0170,               )
                                                      )
                        Defendant.                    )
                                                      )

                                        STATUS REPORT

        The United States, by and through its undersigned attorneys, in accordance with the

Court’s November 14, 2017 Minute Order, files this Status Report, to notify the Court of the

following:

        BACKGROUND

        1.      On October 27, 2017, the United States filed the above-referenced Verified

Complaint for Forfeiture in Rem. See Compl., ECF No. 1.

        2.      The Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions (“Supplemental Rules”) govern civil forfeiture actions in rem arising from a federal

statute. See Supplemental Rule A(1)(B). The Federal Rules of Civil Procedure also apply

except to the extent they are inconsistent with the Supplemental Rules. See Supplemental Rule

A(2).

        3.      Supplemental Rule G(4) governs the process by which the government must serve

notice of the complaint. Notice is required to the public via publication, as well as to potential

claimants via direct notice.
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       Publication

       4.       On November 29, 2017, the government began publication by posting notice on

www.forfeiture.gov, an official internet government forfeiture site. Notice was posted on this

site for 30 consecutive days. Publication ended on December 29, 2017. See ECF No. 4.

       5.       Pursuant to Supplemental Rule G(5)(a)(ii)(B), any claims must be filed on or

before January 29, 2018.

       6.       As of the date of this Status Report, no claims have been filed.

       Direct Notice

       7.       Supplemental Rule G also requires that the government send direct notice “to any

person who reasonably appears to be a potential claimant on the facts known to the government.”

Supp. Rule G(4)(b)(i).

       8.       The notice must be sent by means “reasonably calculated to reach the potential

claimant.” Supp. Rule G(4)(b)(i)(A).

       9.       The government identified two potential claimants, who had access to the bank

accounts from which the seizure was previously made.

       10.      On November 14, 2017, the United States served direct notice of this action via

Federal Express upon the two potential claimants. This notice was marked delivered on

November 17, 2017.

       11.      Pursuant to Supplemental Rule G(4)(b), claims from parties who received direct

notice were due to be filed on or before December 19, 2017.

       12.      As of the date of this Status Report, no claims have been filed by parties who

received direct notice, and the deadline to file any such claim has passed.
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       Arrest Warrant

       13.      Pursuant to a previously executed seizure warrant, the defendant property was in

the government’s possession, custody, and control at the time of the filing of this action.

Pursuant to Supplemental Rule G(3)(b)(i), the Clerk of this Court issued a Warrant for Arrest in

Rem on October 31, 2017. See ECF No. 3.

       14.      Pursuant to Supplemental Rule G(3)(c)(ii)(A), the government filed the return for

the arrest warrant on January 16, 2018. See ECF No. 5.

       Conclusion

       15.      If no claim is filed by January 29, 2018, the government will then request entry of

default from the Clerk of the Court, followed by a request to this Court for default judgment.

       WHEREFORE, the government respectfully requests leave to submit an additional status

report or a motion for default judgment no later than February 5, 2018.

                                                      Respectfully Submitted,

                                                      JESSIE K. LIU
                                                      United States Attorney


                                              By:     ______/s/_____________
                                                      Zia M. Faruqui, D.C. Bar No. 494990
                                                      Assistant United States Attorney
                                                      Marina C. Stevenson, D.C. Bar No. D00452
                                                      Special Assistant U.S. Attorney
                                                      555 Fourth Street, N.W.
                                                      Washington, D.C. 20530
                                                      202-252-7117 (Faruqui)
                                                      Zia.Faruqui@usdoj.gov

                                                      Attorneys for the United States
